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IN THE UNITED S'I`ATES DISTRICT
COURT FOR THE DISTRICT OF MARYLAND
(NORTHERN DIVISION)

MARY CLARK
1862 62ND Ten‘ace South
St. Petersburg, FL 33712
Case No.
Plaintiff,
v. :

HOWARD COUNTY GENERAL HOSPITAL
5755 Cedar Lane
Columbia, MD 21044
SERVE COUNSEL OF RECORD:
Francis X. Leary, Esq. :
401 Washington Street
Suite 1 100 :
ToWSOn, MD 21204

And

COLUMBIA AESTHETIC PLASTIC
SURGERY, LLC
9107 Chartel'hquse Road
Frederick, MD 21704
SERVE COUNSEL OF RECORD:
Larry D. McAfee, Esq. :
11 N. Washington Street
Suite 400
Rockville, MD 20850-4278

And

ERIC CHANG, M.D.
8860 Columbia Parkway, Suite 206
Columbia, M]) 21045
SERVE COUNSEL ()F RECORD:
Larry D. McAfee, Esq.
11 N. Washington Street
Suite 400
Rockville, MD 20850-4278

Defendants

 

 

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COMES NOW the Plaintiff`, Mary Clark, by and through counsel, Kenneth M.
Berman, Esq. and Berrnan, Sobin, Gross, Feldrnan & Darby, LLP, and sues Howard
County General Hospital, lnc., Columbia Aesthetic Plastic Surgery, LLC and Eric
Chang, M.D. and state:

1. Plaintiff Mary Clark is a resident of St. Petersburg, Florida and, prior
to that, Was a resident of Washington County, Maryland.

2. Defendant Howard County General Hospital, Inc. is located in and
regularly conducts business in Howard County, Maryland.

3. Defendant Columbia Aesthetic Plastic Surgery, LLC is located in and
regularly conducts business in Howard County, Maryland.

4. Def`endant Eric Chang, l\/[.D. has an office in and regularly conducts
business in HoWard County, Maryland.

5. The amount of this claim exceeds Seventy Five Thousand Dollars
($75,000.00).

6. The venue for this claim is proper in the United States District Court
for the District of Maryland, Northern Division, as there is diversity jurisdiction
pursuant to 28 U.S.C.A. §1332, as the parties are from different states.

7. All conditions precedent to the filing of this suit have been satisfied.

FACTUAL ALLEGA'I`IONS COMMON TO ALL COUNTS

 

 

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8. On or about May 24, 2010, the Plaintiff, Mary Clark, underwent
breast reconstruction surgery following treatment for breast cancer. The surgery took
place at I-Ioward County General Hospital and was performed by Defendant`Eric
Chang, M.D., an employee and/or agent of Columbia Aesthetic Plastic Surgery, LLC.
9. During the aforementioned surgery, the Plaintiff sustained significant
burns to her chest as a result of an alleged “overheated lighted retractor” which
burned through the surgical drapes and contacted the Plaintiffs skin, resulting in
burns to her chest, including full thickness burns.

10. Once the burns Were detected, the full thickness burns were excised
until healthy bleeding tissue was seen. The resulting wounds Were surgically closed
by Dr. Chang.

ll. The burns resulted in significant scarring and disfigurement to the
Plaintiff's chest, which caused her significant pain and suffering In addition, the
Plaintiff has undergone emotional and psychological trauma as a result of the

operating room burns.
COUNT I
Health Care Malpractice-l-Ioward County General I-Iospital, Inc.
12. The Plaintiff incorporates and adopts by reference all of the facts and
allegations set forth above and further states:
13. At all relevant times, Defendant Howard County General Hospital,
Inc. was responsible for the actions of its agents, apparent agents, servants, and/or

employees under the doctrine of respondeat superior.

 

 

 

 

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l4. At all relevant times, Defendant Howard County General Hospital,
Inc. was responsible for the actions of its agents, apparent agents, servants, and/or
employees under the doctrine of vicarious'liability.

15. The operating room staff of Howard County General Hospital, Inc.
was responsible for ensuring that all of the surgical instruments, including, but not
limited to, the lighted retractor Which caused the Plaintiff’s burns were in proper and
optimal operating condition.

l6. The operating room staff of Howard County General Hospital, Inc.
was responsible for ensuring that all of the surgical instruments including, but not
limited to, the lighted retractor, were set at appropriate levels and settings for the type
of surgery and the operative field.

l7. The operating room staff of Howard County General I-lospital, Inc.
was responsible for ensuring that all of the patient and the surgical field were clear, at
all times, from hazards, unnecessary surgical equipment and other dangerous
materials including, but not limited to, the lighted retractor.

18. Howard County General Hospital its employees and/or agents had a
medical and professional duty to exercise reasonable care in the treatment of Mary
Clark.

l9. Howard County General Hospital, its employees and/or agents
breached its duty of reasonable care in its treatment of l\/lary Clark. Howard County
General l-lospital, its employees and/or agents breached its duty of care by acting or
failing to act in such a way that caused Mary Clark to suffer significant burns to her

chest during what Was to be a routine outpatient surgery.

 

 

 

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20. That, specifically, Howard County General Hospital, its employees
and/or agents should have been aware of the burn hazards of the lighted retractor used
during the Claimant’s surgery and further, the standard of care required that the
surgeon and operating room staff to be attentive to the location of the lighted retractor
within the surgical field. Howard County General Hospital, its employees and/or
agents failed to protect the Claimant from injury when the lighted retraetor Was
placed on the chest, rather than in a proper holster, thereby burning several spots on
the Claimant’s upper chest. lf Defendant Howard County General Hospital, its
employees and/or agents had complied with the standard of care and not placed
dangerous and heated instruments on the Claimant’s body during surgery, she would
not have otherwise sustained such burns which resulted in permanent scars.

21. Plaintiff, Mary Clark, Was in no Way contributorily negligent, and she
relied upon the expertise of Howard County General Hospital, its employees and/or
agents.

22. As result of the professional negligence of Howard County Hospital,
Inc. and its staff and/or agents, the Plaintiff sustained burns to her chest, which will
leave her with significant permanent disfigurements. ln addition to the permanent
bodily injuries, the Plaintiff, l\/Iary Clark has suffered and will continue to suffer
mental anguish, surgical, medical, and other related expenses;

WHEREFORE, l\/lary Clark demands compensatory damages from Howard
County General Hospital, Inc. in the amount of Seven Hundred Fifty Thousand
Dollars ($750,000.00), plus interest and the costs of this suit.

COUNT II
Health Care l\/lalpractice-Columbia Aesthetic Plastic Surgery, LLC

 

 

 

 

 

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23. Plaintiff incorporates and adopts by reference all of the facts and
allegations set forth above and further states:

24. At all times relevant to this action, the Defendant, Eric Chang, M.D.,
was an employee, partner, principal and/or agent of Columbia Aesthetic Plastic
Surgery, LLC.

25. At all relevant times, Defendant Columbia Aesthetic Plastic Surgery,
LLC was responsible for the actions of its agents, apparent agents, servants, and/or
employees under the doctrine of respondeat superior.

26. At all relevant times, Defendant Columbia Aesthetic Plastic Surgery,
LLC was responsible for the actions of its agents, apparent agents, servants, and/or
employees under the doctrine of vicarious liability.

27. The Defendant Eric Chang, M.D., acting as an agent, partner, principal
and/or employee of Columbia Aesthetic Plastic Surgery, LLC, was responsible for
ensuring that all of the surgical instruments including, but not limited to, the lighted
retractor which caused the Plaintiff’s burns, were in proper and optimal operating
condition

28. The Defendant, Eric Chang, M.D., acting as an agent and/or employee
of Columbia Aesthetic Plastic Surgery, LLC, was responsible for ensuring that all of
the surgical instruments including, but not limited to, the lighted retractor, were set at
appropriate levels and settings for the type of surgery and the operative field.

29. The Defendant, Eric Chang, M.D, acting as an agent and/or employee

of Columbia Aesthetic Plastic Surgery, LLC, Was responsible for ensuring that all of

 

 

 

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the patient and the surgical field were clear, at all times, from hazards, unnecessary
surgical equipment and other dangerous materials including, but not limited to, the
lighted retractor.

30. The Defendant, Eric Chang, M.D, acting as an agent and/or employee
of Columbia Aesthetic Plastic Surgery, LLC had a medical and professional duty to
exercise reasonable care in the treatment of Mary Clark.

31. The Defendant, Eric Chang, M.D, acting as an agent and/or employee
of Columbia Aesthetic Plastic Surgery, LLC breached their duty of reasonable care in
the treatment of Mary Clark. The Defendant, Eric Chang, M.D, acting as an agent
and/or employee of Columbia Aesthetic Plastic Surgery, LLC breached their duty of
care by acting or failing to act in such a Way that caused Mary Clark to suffer
significant burns to her chest during what was to be a routine outpatient surgery

32. That, specifically, Columbia Aesthetic Plastic Surgery, its employees
and/or agents should have been aware of the burn hazards of the lighted retractor used
during the Claimant’s surgery and further, the standard of care required that the
surgeon and operating room staff to be attentive to the location of the lighted retractor
within the surgical field. Columbia Aesthetic Plastic Surgery, its employees and/or
agents failed to protect the Claimant from injury When the lighted retractor was
placed on the chest, rather than in a proper holster, thereby burning several spots on
the Claimant’s upper chest. lf Defendant Columbia Aesthetic Plastic Surgery, its
employees and/or agents had complied with the standard of care and not placed
dangerous and heated instruments on the Claimant’s body during surgery, she would

not have otherwise sustained such burns which resulted in permanent scars.

 

 

 

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33. The Plaintiff, Mary Clark, Was in no way contributorily negligent, and
she relied upon the expertise of Eric Chang, M.D, acting as an agent and/or employee
of Columbia Aesthetic Plastic Surgery, LLC, its employees and/or agents.

34. As result of the negligence of Eric Chang, M.D., acting as an agent
and/or employee of Columbia Aesthetic Plastic Surgery, LLC, the Plaintiff sustained
burns to her chest, which will leave her with significant permanent disfigurements. In
addition to the permanent bodily injuries, the Plaintiff, Mary Clark has suffered and
will continue to suffer mental anguish, surgical, medical, and other related expenses-

WHEREFORE, Mary Clark demands compensatory damages from Columbia
Aesthetic Plastic Surgery, LLC in the amount of Seven Hundred Fifty Thousand
Dollars ($750,000.00), plus interest and the costs of this suit

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Health Care Malpractice-Eric Chang, M.D.

35. Plaintiff incorporates and adopts by reference all of the facts and
allegations set forth above and further states:

36. The Defendant, Eric Chang, M.D. was responsible for ensuring that all
of the surgical instruments including, but not limited to, the lighted retractor which
caused the Plaintiff"s burns, were in proper and optimal operating condition.

37. The Defendant, Eric Chang, M.D., was responsible for ensuring that
all of the surgical instruments including, but not limited to, the lighted retractor, Were
set at appropriate levels and settings for the type of surgery and the operative field.

38. The Defendant, Eric Chang, M.D., was responsible for ensuring that

all of the patient and the surgical field were clear, at all times, from hazards,

 

 

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unnecessary surgical equipment and other dangerous materials including, but not
limited to, the lighted retractor.

39. The Defendant, Eric Chang, M.D. had a medical and professional duty
to exercise reasonable care in the treatment of Mary Clark.

40. The Defendant, Eric Chang, M.D. breached his duty of reasonable care
in his treatment of Mary Clark. The Defendant, Eric Chang, M.D, breached his duty
of care by acting or failing to act in such a way that caused Mary Clark to suffer
significant burns to her chest during what was to be a routine outpatient surgery, 41.

That, specifically, Eric Chang, M.D. should have been aware of the burn
hazards of the lighted retractor used during the Claimant’s surgery and further, the
standard of care required that the surgeon and operating room staff to be attentive to
the location of the lighted retractor within the surgical field. Eric Chang, M.D. failed
to protect the Claimant from injury when the lighted retractor was placed on the
chest, rather than in a proper holster, thereby burning several spots on the Claimant’s
upper chest. If Defendant, Eric Chang, M.D. had complied with the standard of care
and not placed dangerous and heated instruments on the Claimant’s body during
surgery, she would not have otherwise sustained such burns which resulted in
permanent scars.

42. The Plaintiff, Mary Clark, was in no way contributorily negligent, and
she relied upon the expertise of Eric Chang, M.D.

43. As result of the negligence of Eric Chang, M.D., the Plaintiff sustained

burns to her chest, which will leave her with significant permanent disfigurements. In

 

 

 

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addition to the permanent bodily injuries, the Plaintiff, Mary Clark has suffered and
will continue to suffer mental anguish, surgical, medical, and other related expenses

WHEREFORE, Mary Clark demands compensatory damages from Eric
Chang, M.D. in the amount of Seven Hundred Fifty Thousand Dollars

($750,000.00), plus interest and the costs of this suit.

Respectfully submitted,

BERMAN, SOBIN, GROSS,
FELDMAN & DARBY, LLP

 

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